            Case: 23-2437           Document: 19            Page: 1   Filed: 02/23/2024


                                                 2023-2437

                     United States Court of Appeals
                         for the Federal Circuit

                            RECENTIVE ANALYTICS, INC.,

                                                                        Plaintiff-Appellant,

                                                   – v. –

             FOX CORP., FOX BROADCASTING COMPANY, LLC,
                   FOX SPORTS PRODUCTIONS, LLC,

                                                                        Defendants-Appellees.


               On Appeal from the United States District Court for the
                  District of Delaware in No. 1:22-cv-01545-GBW
                           Honorable Gregory B. Williams

                                  APPELLEES’ BRIEF

    RANJINI ACHARYA                                    EVAN FINKEL
    MICHAEL ZELIGER                                    MICHAEL HORIKAWA
    PILLSBURY WINTHROP SHAW                            PILLSBURY WINTHROP SHAW
      PITTMAN LLP                                        PITTMAN LLP
    2550 Hanover Street                                725 South Figueroa Street, 36th Floor
    Palo Alto, California 94304                        Los Angeles, California 90017
    (650) 233-4500                                     (213) 488-7100
    ranjini.acharya@pillsburylaw.com                   evan.finkel@pillsburylaw.com
    michael.zeliger@pillsburylaw.com                   michael.horikawa@pillsburylaw.com
                              Counsel for Defendants-Appellees

    FEBRUARY 23, 2024

-    COUNSEL PRESS   (800) 4-APPEAL • (713365)
          Case: 23-2437     Document: 19     Page: 2    Filed: 02/23/2024




                          PATENT CLAIMS AT ISSUE

U.S. Patent No. 10,911,811:

1. A computer-implemented method for dynamically generating a network map, the
method comprising:

     receiving a schedule for a first plurality of live events scheduled to start at a
           first time and a second plurality of live events scheduled to start at a
           second time;

     generating, based on the schedule, a network map mapping the first plurality
           of live events and the second plurality of live events to a plurality of
           television stations for a plurality of cities,

           wherein each station from the plurality of stations corresponds to a
                respective city from the plurality of cities,

           wherein the network map identifies for each station (i) a first live event
                from the first plurality of live events that will be displayed at the
                first time and (ii) a second live event from the second plurality
                of live events that will be displayed at the second time, and

           wherein generating the network map comprises using a machine
                learning technique to optimize an overall television rating across
                the first plurality of live events and the second plurality of live
                events;

     automatically updating the network map on demand and in real time based on
          a change to at least one of (i) the schedule and (ii) underlying criteria,

           wherein updating the network map comprises updating the mapping of
                the first plurality of live events and the second plurality of live
                events to the plurality of television stations; and

     using the network map to determine for each station (i) the first live event
           from the first plurality of live events that will be displayed at the first
           time and (ii) the second live event from the second plurality of live
           events that will be displayed at the second time.



                                         i
          Case: 23-2437     Document: 19      Page: 3    Filed: 02/23/2024




U.S. Patent No. 10,958,957:

1. A computer-implemented method for dynamically generating a network map, the
method comprising:

     obtaining a schedule for a first plurality of events scheduled to start at a first
           time and a second plurality of events scheduled to start at a second time;

     generating, based on the schedule, a network map mapping the first plurality
           of events and the second plurality of events to a plurality of television
           stations for a plurality of cities,

           wherein each station from the plurality of stations corresponds to a
                respective city from the plurality of cities,

           wherein the network map identifies for each station (i) a first event from
                the first plurality of events that will be displayed at the first time
                and (ii) a second event from the second plurality of events that
                will be displayed at the second time, and

           wherein generating the network map comprises using a machine
                learning technique to optimize an overall television rating across
                the first plurality of events and the second plurality of events;

     automatically updating the network map on demand and in real time based on
          a change to at least one of (i) the schedule and (ii) underlying criteria,

           wherein updating the network map comprises updating the mapping of
                the first plurality of events and the second plurality of events to
                the plurality of television stations; and

     using the network map to determine for each station (i) the first event from
           the first plurality of events that will be displayed at the first time and
           (ii) the second event from the second plurality of events that will be
           displayed at the second time.




                                         ii
          Case: 23-2437     Document: 19      Page: 4   Filed: 02/23/2024




U.S. Patent No. 11,386,857:

1. A computer-implemented method of dynamically generating an event schedule,
the method comprising:

     receiving one or more event parameters for series of live events, wherein the
           one or more event parameters comprise at least one of venue
           availability, venue locations, proposed ticket prices, performer fees,
           venue fees, scheduled performances by one or more performers, or any
           combination thereof;

     receiving one or more event target features associated with the series of live
           events, wherein the one or more event target features comprise at least
           one of event attendance, event profit, event revenue, event expenses, or
           any combination thereof;

     providing the one or more event parameters and the one or more event target
           features to a machine learning (ML) model, wherein the ML model is
           at least one of a neural network ML model and a support vector ML
           model;

     iteratively training the ML model to identify relationships between different
            event parameters and the one or more event target features using
            historical data corresponding to one or more previous series of live
            events, wherein such iterative training improves the accuracy of the ML
            model;

     receiving, from a user, one or more user-specific event parameters for a future
           series of live events to be held in a plurality of geographic regions;

     receiving, from the user, one or more user-specific event weights representing
           one or more prioritized event target features associated with the future
           series of live events;

     providing the one or more user-specific event parameters and the one or more
           user-specific event weights to the trained ML model;

     generating, via the trained ML model, a schedule for the future series of live
           events that is optimized relative to the one or more prioritized event
           target features;

                                        iii
           Case: 23-2437     Document: 19     Page: 5    Filed: 02/23/2024




      detecting a real-time change to the one or more user-specific event
             parameters;

      providing the real-time change to the trained ML model to improve the
            accuracy of the trained ML model; and

      updating, via the trained ML model, the schedule for the future series of live
            events such that the schedule remains optimized relative to the one or
            more prioritized event target features in view of the real-time change to
            the one or more user-specific event parameters.

U.S. Patent No. 11,537,960:

1. A computer-implemented method of dynamically generating an event schedule,
the method comprising:
      receiving one or more event parameters for one or more series of live events,
            wherein the one or more event parameters comprise scheduling
            information for one or more performances by one or more performers;

      receiving one or more event target features associated with the series of live
            events, wherein the one or more event target features comprise at least
            one of event attendance, event profit, event revenue, event expenses, or
            any combination thereof;

      providing the one or more event parameters and the one or more event target
            features to a machine learning (ML) model, wherein the ML model is
            at least one of a neural network ML model and a support vector ML
            model;

      iteratively training the ML model to identify relationships between the one or
             more event parameters and the one or more event target features using
             historical data corresponding to one or more previous series of live
             events, wherein such iterative training improves the accuracy of the ML
             model;

      receiving, from a user, one or more user-specific event parameters for a future
            series of live events associated with a first performer, the user-specific
            event parameters including scheduling information for one or more
            future performances by at least one second performer;



                                         iv
     Case: 23-2437     Document: 19     Page: 6    Filed: 02/23/2024




receiving, from the user, one or more user-specific event weights representing
      one or more prioritized event target features associated with the future
      series of live events;

providing the one or more user-specific event parameters and the one or more
      user-specific event weights to the trained ML model; generating, via
      the trained ML model, a schedule for the future series of live events that
      is optimized relative to the one or more prioritized event target features;

detecting a real-time change to the scheduling information for the one or more
       future performances by the at least one second performer; providing the
       real-time change to the trained ML model to improve the accuracy of
       the trained ML model; and

updating, via the trained ML model, the schedule for the future series of live
      events such that the schedule remains optimized relative to the one or
      more prioritized event target features in view of the real time change to
      the scheduling information for the one or more future performances by
      the at least one second performer.




                                    v
            Case: 23-2437     Document: 19    Page: 7   Filed: 02/23/2024




                         CERTIFICATE OF INTEREST

       Undersigned counsel for Defendants-Appellees Fox Corp., Fox Broadcasting
Company, LLC, and Fox Sports Productions, LLC (collectively, “Fox”) certifies as
follows:
1.     The full name of every entity represented by undersigned counsel is:
       Fox Corporation; Fox Broadcasting Company, LLC; Fox Sports Productions,
LLC.
2.     The full names of every real party in interest for the entities:
       None/not applicable
3.     The full names of all parent corporations for the entities and all publicly
held companies that own 10% or more stock in the entities:
       For Fox Corporation: none. For Fox Broadcasting Company, LLC: Fox
Corporation is the ultimate parent corporation. For Fox Sports Productions, LLC:
Fox Corporation is the ultimate parent corporation.
4.     All law firms, partners, and associates that have not already entered an
appearance in this Court but (a) appeared for the entities in the originating
court or agency or (b) are expected to appear in this court for the entities:
       Faegre Drinker Biddle & Reath LLP: Francis DiGiovanni and Thatcher A.
Rahmeier.
5.     The title and number of any pending case that will be directly affected by
this court’s decision in this appeal (other than the originating case):
       None/not applicable.
6.     Organizational victims and bankruptcy cases:
       None/not applicable.

                                              By: /s/ Ranjini Acharya
                                              Ranjini Acharya


                                         vi
                Case: 23-2437           Document: 19            Page: 8        Filed: 02/23/2024




                                       TABLE OF CONTENTS

PATENT CLAIMS AT ISSUE .................................................................................. i
CERTIFICATE OF INTEREST .............................................................................. vi
STATEMENT OF RELATED CASES .....................................................................1
STATEMENT OF ISSUES .......................................................................................1
STATEMENT OF THE CASE ..................................................................................1
    I. The Patents-in-Suit ..........................................................................................2
         A. The Network Map Patents ..........................................................................2
             1. Prosecution of the Network Map Patents ..............................................4
             2. Representative Claim of the Network Map Patents ..............................6
         B. The Machine Learning Training Patents ....................................................7
             1. Prosecution of the Machine Learning Training Patents ........................9
             2. Representative Claim of the Machine Learning Training Patents ......10
    II. Procedural history ..........................................................................................11
SUMMARY OF ARGUMENT ...............................................................................14
ARGUMENT ...........................................................................................................15
    I. Standard of review .........................................................................................15
    II. The district court correctly concluded that the Patents-in-Suit do not claim
         patent eligible subject matter .........................................................................16
         A. The claims seek to patent an abstract idea ...............................................16
             1. The claims are directed to the selection and analysis of routine and
                  conventional information ....................................................................17
             2. The claims simply describe the use of generic computer technologies
                  in purely functional terms ...................................................................21
             3. The claims simply describe the production of improved data relative
                  to conventional methods......................................................................25



                                                         vii
               Case: 23-2437             Document: 19            Page: 9         Filed: 02/23/2024




        B. Recentive’s cited cases are unavailing .....................................................28
        C. The Patent Office’s guidance is not controlling and is distinguishable ...32
    III. The claims fail to disclose an inventive concept ...........................................34
    IV.      No factual disputes or issues of claim construction precluded the district
        court’s ruling ..................................................................................................36
         A. There are no claim construction issues.....................................................36
         B. There are no factual disputes ....................................................................38
    V. The district court correctly denied leave to amend on the ground that any
         further amendments would be futile ..............................................................42
CONCLUSION ........................................................................................................45




                                                          viii
              Case: 23-2437           Document: 19          Page: 10        Filed: 02/23/2024




                                   TABLE OF AUTHORITIES

                                                                                                       Page(s)
                                                    Cases
In re Abel,
    838 F. App’x 558 (Fed. Cir. 2021) .....................................................................33
Alice Corp. Pty. v. CLS Bank Int’l,
   573 U.S. 208 (2014) .....................................................................................passim
Ballentine v. United States,
   486 F.3d 806 (3d Cir. 2007) ...............................................................................15

In re Bd. of Trustees of Leland Stanford Junior Univ.,
    991 F.3d 1245 (Fed. Cir. 2021) ....................................................................24, 27
City of Cambridge Ret. Sys. v. Altisource Asset Mgmt. Corp.,
   908 F.3d 872 (3d Cir. 2018) ...............................................................................15
Cleveland Clinic Found. v. True Health Diagnostics LLC,
   859 F.3d 1352 (Fed. Cir. 2017) ..........................................................................37
Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat. Ass’n,
  776 F.3d 1343 (Fed. Cir. 2014) .................................................................... 39-40

Digitech Image Techs., LLC v. Elecs. for Imaging, Inc.,
   758 F.3d 1344 (Fed. Cir. 2014) ..........................................................................27
Doe v. Princeton Univ.,
  30 F.4th 335 (3d Cir. 2022) ................................................................................39
Elec. Power Grp., LLC v. Alstom S.A.,
   830 F.3d 1350 (Fed. Cir. 2016) ..............................................................18, 19, 41

Enfish, LLC v. Microsoft Corp.,
   822 F.3d 1327 (Fed. Cir. 2016) ....................................................................28, 31
FairWarning IP, LLC v. Iatric Sys., Inc.,
   839 F.3d 1089 (Fed. Cir. 2016) ....................................................................15, 32

Fast 101 Pty Ltd. v. CitiGroup Inc.,
  834 F. App’x 591 (Fed. Cir. 2020) .........................................................15, 43, 44

                                                       ix
               Case: 23-2437            Document: 19           Page: 11         Filed: 02/23/2024




Finjan, Inc. v. Blue Coat Systems, Inc.,
   879 F.3d 1299 (Fed. Cir. 2018) ....................................................................28, 29

In re Greenstein,
    782 F. App'x 1035 (Fed. Cir. 2019) ....................................................................16

Hawk Tech. Sys., LLC v. Castle Retail, LLC,
  60 F.4th 1349 (Fed. Cir. 2023) ...........................................................................30

Health Discovery Corp. v. Intel Corp.,
  577 F. Supp. 3d 570 (W.D. Tex. 2021), remanded on other grounds, Health
  Discovery Corp. v. Intel Corp., No. 2022-1446, 2022 WL 1681675 (Fed. Cir.
  May 26, 2022) .....................................................................................................25

Int’l Bus. Machines Corp. v. Zillow Grp., Inc.,
    No. 2022-1861, 2024 WL 89642 (Fed. Cir. Jan. 9, 2024)..................................24
Int’l Bus. Machines Corp. v. Zillow Grp., Inc.,
    50 F.4th 1371 (Fed. Cir. 2022) ....................................................................41, 42
Intellectual Ventures I LLC v. Capital One Bank (USA),
   792 F.3d 1363 (Fed. Cir. 2015) ..........................................................................32
Koninklijke KPN N.V. v. Gemalto M2M GmbH,
  942 F.3d 1143 (Fed. Cir. 2019) ....................................................................29, 30
Maiden Creek Assocs., L.P. v. U.S. Dep’t of Transp.,
  823 F.3d 184 (3d Cir. 2016) .........................................................................16, 44
McRO, Inc. v. Bandai Namco Games Am. Inc.,
  837 F.3d 1299 (Fed. Cir. 2016) ..............................................................29, 31, 32

PersonalWeb Techs. LLC v. Google LLC,
   8 F.4th 1310 (Fed. Cir. 2021) .............................................................................35

Power Analytics Corp. v. Operation Tech., Inc.,
  No. SACV1601955JAKFFMX, 2017 WL 5479638 (C.D. Cal. May 10, 2017)
  aff’d sub nom, Fed. App’x 334 (Fed. Cir. 2019), cert. denied,
  140 S. Ct. 910 (2020) ....................................................................................24, 25

RecogniCorp, LLC v. Nintendo Co.,
   855 F.3d 1322 (Fed. Cir. 2017) ....................................................................27, 35



                                                          x
               Case: 23-2437            Document: 19           Page: 12         Filed: 02/23/2024




In re Rudy,
    956 F.3d 1379 (Fed. Cir. 2020) ....................................................................32, 33

SAP Am., Inc. v. InvestPic, LLC,
  898 F.3d 1161 (Fed. Cir. 2018) ................................................................6, 22, 27

SRI Int’l, Inc. v. Cisco Sys., Inc.,
   930 F.3d 1295 (Fed. Cir. 2019) ..............................................................29, 30, 31

In re TLI Commc’ns LLC Patent Litig.,
    823 F.3d 607 (Fed. Cir. 2016) ............................................................................25

Trinity Info Media, LLC v. Covalent, Inc.,
   72 F.4th 1355 (Fed. Cir. 2023) .........................................................19, 20, 37, 38

Two-Way Media Ltd. v. Comcast Cable Commc’ns, LLC,
  874 F.3d 1329 (Fed. Cir. 2017) ..........................................................................20
Uniloc USA, Inc. v. LG Elecs. USA, Inc.,
  957 F.3d 1303 (Fed. Cir. 2020) ....................................................................29, 30
Universal Secure Registry LLC v. Apple Inc.,
  10 F.4th 1342 (Fed. Cir. 2021) ...........................................................................15

WhitServe LLC v. Dropbox, Inc.,
  854 F. App'x 367 (Fed. Cir. 2021) ......................................................................37

                                            Statutes and Codes
United States Code,
  Title 35, Section 101 ....................................................................................passim
  Title 35, Section 103 .............................................................................................6
  Title 35, Section 112(b) ........................................................................................6

                                          Rules and Regulations

Federal Rule of Civil Procedure,
   Rule 12(b)(6).................................................................................................15, 45




                                                          xi
           Case: 23-2437     Document: 19     Page: 13    Filed: 02/23/2024




                      STATEMENT OF RELATED CASES

      There are no other appeals in or from the same civil action or proceeding in

the originating tribunal that were previously before this or any other appellate court.

                            STATEMENT OF ISSUES

(1)   Whether the district court correctly concluded that the Patents-in-Suit are not

      directed to patent eligible subject matter.

(2)   Whether the district court correctly concluded that Recentive failed to

      plausibly allege an inventive concept recited by the claims of the Patents-in-

      Suit.

(3)   Whether the district court correctly denied leave to amend on the ground that

      any amendment would be futile.

                           STATEMENT OF THE CASE
      This case presents a straightforward determination of patent ineligibility under

Alice and its progeny that led the district court to dismiss the case at the pleadings

stage. The claims of the Patents-in-Suit simply seek to automate long-standing

human endeavors, involving the creation of network maps and event schedules using

known machine learning techniques, and hence cover the selection and analysis of

mathematical information using generic computer technology. The subject matter of

these claims is ineligible for patent protection, and the absence of any factual

disputes or issues of claim construction that would impact that analysis underscore

the fact that there is no viable basis for the claims to survive. Moreover, Plaintiff-

                                          1
           Case: 23-2437     Document: 19      Page: 14   Filed: 02/23/2024




Appellant Recentive Analytics, Inc. (“Recentive”) already availed itself of the

opportunity to amend its complaint once – and it was unable to articulate with the

requisite specificity any further amendment that, if accepted as true, would plausibly

allege that the claims recite patent-eligible subject matter. Accordingly, the district

court properly determined that leave to amend would be futile and granted Fox’s

motion to dismiss with prejudice. There is no error. This Court should affirm.

I.    The Patents-in-Suit
      This case concerns two families of patents. The first, comprising U.S. Patent

No. 10,911,811 (“the ’811 patent”) and U.S. Patent No. 10,958,957 (“the ’957

patent”), is collectively referred to herein as the “Network Map Patents.” The ’957

patent is a continuation of the ’811 patent, and the two share the same title and

specification. The second family, comprising U.S. Patent No. 11,386,367 (“the ’367

patent”) and U.S. Patent No. 11,537,960 (“the ’960 patent”), is collectively referred

to herein as the “Machine Learning Training Patents.” The ’960 patent is a

continuation of the ’367 patent, and the two share the same title and specification.

The Network Map Patents and the Machine Learning Training Patents are

collectively referred to as the “Patents-in-Suit.”

      A.     The Network Map Patents

      The Network Map Patents are generally directed to computer-implemented

methods for generating a “network map,” which is a “schedule that outlines which



                                           2
           Case: 23-2437     Document: 19      Page: 15    Filed: 02/23/2024




content will be displayed on which channel at a certain time.” See, e.g., Appx116 at

1:14-17; Appx77 at ¶ 19. Conventional techniques are said to be inferior because

they are “entirely manual, static and incapable of responding to changing conditions

. . . and unable to forecast the impact of a proposed schedule change.” See Appx116

at 1:24-29; Appx41 at ¶ 18 (“Conventional processes were also unable to prioritize

certain parameters or target criteria in the creation of event schedules, could not be

iteratively trained, and were not capable of collecting and analyzing social media

data to forecast the impact on the future series of live events.”). The claimed solution

of the Network Map Patents is to automate this process, based on “a computer

algorithm designed to optimize a certain parameter,” and/or “based on real time

data,” whereby the network map “can be dynamically updated based on changing

conditions[.]” Appx116 at 1:35-47.

      The Network Map Patents do not disclose a particular computer system that

performs the claimed method. Rather, the specification discloses “a generic

computing device” that may be used with the claimed techniques, with a general

description of common computing components: a processor, memory, display,

communication interface, and so on. See Appx118 at 5:4-6; 5:6-6:37; 6:39-49. The

Network Map Patents also do not provide any details of the algorithm that executes

the claimed method. Rather, the specification recites a generic list of machine

learning techniques and training data that may be used. See Appx117 at 3:21-26 (“In


                                           3
          Case: 23-2437     Document: 19     Page: 16   Filed: 02/23/2024




general, any suitable machine learning technique can be used, for example, a

gradient boosted random forest, a regression, a neural network, a decision tree, a

support vector machine, a Bayesian network, etc., as just a few examples.”). And

finally, the Network Map Patents make it clear that “[t]he machine learning

technique can be trained using any suitable training data…includ[ing] weather data,

news data, and/or gambling data (e.g., odds data generated by sports books).” See

Appx117 at 3:26-30 (emphasis added).

            1.     Prosecution of the Network Map Patents
      The Examiner initially rejected the pending claims of the ’811 patent under

Section 101 because the claims simply recited “mental processes capable of being

performed in the human mind or on pen and paper,” and the claimed machine

learning techniques were simply “code written to allow a computer to learn a pattern

using models, which is also interpreted as capable of being performed in the human

mind or on pen and paper[.]” Appx231. This rejection was eventually withdrawn,

but not in the manner Recentive now describes.

      Recentive asserts that, in response to the Examiner’s rejection, it “amended

pending claim 1 to require generating a network map ‘using a machine learning

technique and data,’ which is updated ‘on demand and in real time’ based on ‘a user

entered change to … the underlying criteria,’” and that “with this amendment,” the




                                         4
           Case: 23-2437     Document: 19     Page: 17   Filed: 02/23/2024




Examiner concluded that the claims were directed to patentable subject matter. See

Recentive Brief, at p. 11 (citing Appx459) (emphasis added). This is misleading.

      In fact, Recentive relied on two other limitations that were also added in

response to the Section 101 rejection: “displaying the network map to a user on a

display having a graphical user interface depicting the network map in chart form,”

and “displaying an updated network map to the user on the display having the

graphical user interface depicting the updated network map in chart format.” See

Appx240. Recentive referenced solely to these “displaying” steps in its response to

the rejection. See Appx244 (“the portions of the claim that recite the structure and

function of the ‘display having a graphical user interface’ are additional elements

that integrate the claimed subject matter into a practical application,” “the newly

added ‘displaying steps’ do not recite abstract ideas,” “the ‘displaying steps’ are

additional elements of independent claim 1” under Alice); Appx245 (“the displaying

steps recited in claim 1 reflect an improvement to computer-based network map

generation systems and therefore integrate the claimed subject matter into a practical

application”); Appx246 (“the displaying steps recited in amended independent claim

1 are addressed to and resolve a specifically identified problem in the prior state of

the art of network map generation.”). Recentive did not refer to any other

amendments to its claims.




                                          5
            Case: 23-2437      Document: 19    Page: 18    Filed: 02/23/2024




       The Examiner then rejected the claims (as amended) on a new ground of

rejection: that the claims were indefinite under 35 U.S.C. § 112(b) and obvious under

§ 103. Appx253–254. The Examiner found Recentive’s arguments with respect to

Section 101 mooted by this new ground of rejection. Appx253. In a subsequent

response, and despite having previously relied on the addition of the “displaying

steps” to overcome the Section 101 rejection, Recentive deleted these limitations

and the ’811 patent issued without these limitations. See Appx263. The Examiner

did not revisit the Section 101 rejection during the remaining prosecution of the ’811

patent. 1

       The ’957 continuation patent was allowed without any substantive office

actions as to patent eligibility.

              2.     Representative Claim of the Network Map Patents

       The district court found claim 1 of the ’811 patent representative of all claims

of the Network Map Patents. Appx14-15. Recentive does not challenge the district

court’s decision on representativeness. Recentive Brief, at p. 13, n. 3. Claim 1 recites

a “computer-implemented method” capturing four steps: (1) a collecting step, i.e.



1
  To the extent that the Examiner was persuaded by Recentive’s addition of the
“displaying” steps to overcome the Section 101 rejection, doing so would have been
in error. See, e.g., SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1168 (Fed. Cir.
2018) (“Here[,] the focus of the claims is not a physical-realm improvement but an
improvement in wholly abstract ideas—the selection and mathematical analysis of
information, followed by reporting or display of the results.”) (emphasis added).

                                           6
           Case: 23-2437     Document: 19     Page: 19    Filed: 02/23/2024




“receiving” current schedules of live events starting at two different time slots; (2)

an analyzing step, i.e. using a “machine learning technique” to generate a network

map that optimizes tv ratings; (3) an updating step, i.e. automatically updating the

network map “on demand” and “in real time” based on changes to either the schedule

or certain “underlying criteria”; and (4) a using step, i.e. using that network map to

guide decision-making as to which event will be shown on which tv station. See

Appx17; and see Appx120 at 9:65-10:33.

      B.     The Machine Learning Training Patents
      The Machine Learning Training Patents are directed to computer-

implemented methods for optimizing events such as concerts or rallies that take

place across multiple locations over several months, or scheduling multiple

performers to perform at a particular venue. See, e.g., Appx144 at 1:6-10; id. at 1:18-

26. Conventional techniques are criticized because the failure to consider factors

such as “competing events, expenses, ticket prices, weather, performer availability,

venue availability, etc.” can “lead to sub-optimal schedules that generate little

interest among consumers and/or result in low attendance or ticket sales.” Appx144

at 1:26-33; see also Appx41 ¶ 18.

      The claimed solution of the Machine Learning Training Patents is to automate

this process, based on “computer-implemented systems and methods,” that

determine an “optimized schedule,” which can be updated “based on real-time data,”



                                          7
           Case: 23-2437     Document: 19     Page: 20   Filed: 02/23/2024




and “dynamically updated in response to changes in this data.” See Appx144 at 1:43-

67. The schedule is generated through the use of a machine learning model (see e.g.,

id. at 2:18-20), which is iteratively trained to “recognize how to optimize, maximize,

or minimize one or more of the target features based on a given set of input

parameters.” Appx146 at 5:65-6:21; see also Appx49 at ¶ 31.

      As with the Network Map Patents, the Machine Learning Training Patents do

not disclose a particular computer system that performs the claimed method. Rather,

the “operations described in this specification can be implemented…by a data

processing apparatus…including by way of example a programmable processor, a

computer, a system on a chip, or multiple ones, or combinations, of the foregoing.”

See Appx149 at 11:11-14. See also id. at 11:15-19 (“The term ‘data processing

apparatus’ encompasses all kinds of apparatus, devices, and machines for processing

data, including by way of example a programmable processor, a computer, a system

on a chip, or multiple ones, or combinations, of the foregoing.”). Likewise, the

Machine Learning Training Patents recognize that “[i]n general, any suitable

machine learning technique can be used, such as, for example: a gradient boosted

random forest, a regression, a neural network, a decision tree, a support vector

machine, a Bayesian network, other type of technique.” Appx146 at 5:67-6:5;

Appx147 at 7:58-62. And again, the Machine Learning Training Patents can be

trained using training data comprising “historical data from previous live events or


                                          8
          Case: 23-2437     Document: 19     Page: 21   Filed: 02/23/2024




series of live events,” such as “dates, venue locations, ticket prices, social media

data,” “attendance, revenue, expenses, etc.” See Appx146 at 6:7-15.

                   1.     Prosecution of the Machine Learning Training Patents
      All the claims in the application that led to the ’367 patent were initially

rejected under Section 101 because the claimed method “is directed to an abstract

idea without significantly more”, to wit, a process “for generating and updating a

schedule” that “covers performance of the limitation in the mind (comparing or

categorizing information) but for the recitation of generic computer components.”

Appx273-274. In response, Applicant argued that the (amended) claims were

“necessarily rooted in computer technology,” “through the use of machine learning.”

Appx298. The Examiner disagreed, noting “[w]hile the additional element of

machine learning may improve the accuracy and/or automation of data processing,

the addition of machine learning in the claim limitations herein does not make the

claim rooted in computer technology or improve the functioning of a computer,” and

that “[t]he machine learning process improves the accuracy of scheduling events and

is not an improvement to machine learning technology or the functioning of a

computer device.” Appx312-313.

      In a series of narrowing amendments, Applicant eventually limited the claims

to two types of known machine learning models (“at least one of a neural network

ML model and a support vector ML model”) and additionally specified iteratively



                                         9
           Case: 23-2437      Document: 19      Page: 22   Filed: 02/23/2024




training the ML model to improve overall accuracy. See, e.g., Appx337; Appx347;

Appx355. The Examiner accepted these amendments. Appx370.

      The ’960 continuation patent was allowed without any substantive Office

Actions.

                    2.     Representative Claim of the Machine Learning
                           Training Patents

      The district court found claim 1 of the ’367 patent representative of all claims

of the Machine Learning Training Patents. Appx15. Recentive does not challenge

this. Recentive Brief, at p. 13, n. 3. Again, claim 1 of the ’367 patent recites a

“computer-implemented method” that captures four steps: (1) a collecting step, i.e.,

“receiving” a list of event parameters (performers, venues, ticket prices) and “target

features” (attendance, profit, revenue); (2) a training step, i.e. providing the event

parameters and target features to the machine learning model and “iteratively

training” it to identify relationships between the event parameters and the target

features; (3) an output step, i.e. “generating” a schedule for future live events that is

optimized relative to the prioritized target features; and (4) an updating step, i.e.

detecting real-time changes to the inputs and updating a machine learning model so

that the event schedule remains optimized. See Appx17; and see Appx150 at 14:2-

49.




                                           10
           Case: 23-2437     Document: 19     Page: 23   Filed: 02/23/2024




II.   Procedural history
      Fox’s motion to dismiss the first amended complaint (see Appx172) came

after Fox filed an earlier motion to dismiss Recentive’s original complaint, which

included only the Network Map Patents, on the grounds that the Network Map

Patents simply claim a long-standing human endeavor that is automated by replacing

the human decision-maker with generic computing technology. See Appx181. In

response to Fox’s first motion, Recentive filed its first amended complaint, adding

the Machine Learning Training Patents and a host of additional factual allegations

about the Patents-in-Suit. See Appx72-109 (showing Recentive’s amendments to its

original complaint in redline).

      Fox moved to dismiss Recentive’s first amended complaint on the grounds

that none of the claims of the Patents-in-Suit claims patent eligible subject matter.

Appx172. Fox argued that the Machine Learning Training Patents, like the Network

Map Patents, claimed patent ineligible subject matter: although tied to the field of

machine learning, Fox argued that the claims amount to the selection and analysis

of mathematical information using generic computer technology, which remains an

unpatentable abstract idea. Appx181.

      Following briefing and having held a hearing that lasted over an hour, the

district court granted Fox’s motion with prejudice. Appx1. In a well-reasoned and

thoroughly supported opinion, the district court analyzed the Patents-in-Suit and



                                         11
           Case: 23-2437      Document: 19       Page: 24    Filed: 02/23/2024




held that the claims are directed to the abstract ideas of producing network maps and

event schedules, using known generic mathematical techniques. See Appx16. In

reaching this conclusion, the district court first set forth Recentive’s

characterizations of the “central inventive contribution[s]” of the Patents-in-Suit,

describing the Network Map Patents as the “application of trained machine learning

algorithms to generate network maps that are dynamically updated and optimized in

real time,” and the Machine Learning Training Patents as the use of those trained

machine learning algorithms to “generate event schedules that are dynamically

updated and optimized in real-time.” Appx16 (quoting Appx391-392). The district

court found that this simply reflects a method to “collect information, analyze it, and

display certain results of the collection, a familiar class of claims directed to a patent-

ineligible concept.” Appx17-18 (internal quotation marks and citations omitted).

Accordingly, the district court found that the claims of the Patents-in-Suit do not

claim patent eligible subject matter.

      The district court also properly found that there were no issues of claim

construction or factual disputes that would preclude it from deciding Fox’s motion

at the pleadings stage. Appx9-11. With respect to the former, the district court noted

that Recentive failed to provide any proposed claim construction or explanation of

why any proposed claim construction would alter the Section 101 analysis, including

during oral argument. See Appx10. Indeed, at the hearing, Recentive’s counsel


                                            12
           Case: 23-2437      Document: 19      Page: 25   Filed: 02/23/2024




raised an entirely new claim construction issue (which the district court nevertheless

addressed in its order) but did not otherwise explain how it or any other claim

construction issue affected subject matter eligibility. See id, n. 2; see also Appx612-

613. And with respect to the latter, the district court specifically held that it “dr[ew]

all assumptions in favor of Recentive at this stage,” and “accept[ed] Recentive’s

factual allegations as true at this stage,” 2 but found that they ultimately did “not

change the analysis” of the court. Appx10-11. Accordingly, the district court

properly dismissed Recentive’s claims at the pleadings stage. Id.

      Finally, the district court properly granted Fox’s motion with prejudice,

denying Recentive the opportunity to further amend its complaint. Appx26.

Recentive had already availed itself of the opportunity to amend its complaint once

– and was unable to articulate with the requisite specificity any further amendment

that, if accepted as true, would plausibly allege that the claims recite patent-eligible

subject matter. The district court noted that the first amended complaint had only

attached the Patents-in-Suit to the complaint and that the “claims of the patents say

what they say.” Appx26. Accordingly, the district court properly determined that

leave to amend would be futile and granted Fox’s motion to dismiss with prejudice.




2
  Even though the court considered several of Recentive’s factual assertions to be
“the sorts of ‘mere conclusory statements that a court may disregard at the 12(b)(6)
stage.” Appx10.

                                           13
          Case: 23-2437     Document: 19      Page: 26   Filed: 02/23/2024




                          SUMMARY OF ARGUMENT

(1)   The district court correctly concluded that the Patents-in-Suit are not directed

      to patent eligible subject matter. The claims of the Patents-in-Suit simply seek

      to automate long-standing human endeavors, involving the creation of

      network maps and event schedules using known machine learning techniques,

      and hence cover the selection and analysis of mathematical information using

      generic computer technology. That is not patent eligible subject matter.

(2)   The district court correctly concluded that Recentive failed to allege an

      inventive concept recited by the claims of the Patents-in-Suit. The claims

      recite nothing more than the application of known machine learning

      algorithms, running on generic computers, to generate network maps and

      event schedules that reflect real-time updates in the underlying data. That is

      not sufficient to transform the claimed subject matter into a patent eligible

      invention.

(3)   The district court correctly denied leave to amend on the ground that any

      amendment would be futile. The court found that there were no factual

      disputes or issues of claim construction that precluded the review of the claims

      at the pleadings stage, and also found that Recentive had already availed itself

      of the opportunity to amend its complaint once and had failed to plausibly

      allege that the claims recite patent-eligible subject matter. Accordingly, the



                                         14
           Case: 23-2437      Document: 19      Page: 27   Filed: 02/23/2024




      district court properly determined that any further amendments would be

      futile and therefore correctly denied leave to amend.

                                    ARGUMENT

I.    Standard of review.

      Patent eligibility under 35 U.S.C. § 101 is a question of law, and so this Court

reviews de novo the determination that a claim is directed to patent-ineligible subject

matter. Universal Secure Registry LLC v. Apple Inc., 10 F.4th 1342, 1345-46 (Fed.

Cir. 2021).

      This Court applies the law of the regional circuit when reviewing a district

court’s disposition of a motion to dismiss for failure to state a claim. FairWarning

IP, LLC v. Iatric Sys., Inc., 839 F.3d 1089, 1092 (Fed. Cir. 2016). Under the law of

the Third Circuit, a district court’s grant of a motion to dismiss for failure to state a

claim under Federal Rule of Civil Procedure 12(b)(6) is reviewed de novo.

Ballentine v. United States, 486 F.3d 806, 808 (3d Cir. 2007). This Court, applying

Third Circuit law, has previously reviewed a district court’s denial of leave to amend

to address patent subject matter eligibility for abuse of discretion. See Fast 101 Pty

Ltd. v. CitiGroup Inc., 834 F. App’x 591, 593 (Fed. Cir. 2020) (citing City of

Cambridge Ret. Sys. v. Altisource Asset Mgmt. Corp., 908 F.3d 872, 878 (3d Cir.

2018)). However, the Third Circuit has on occasion undertaken de novo review of a




                                           15
           Case: 23-2437      Document: 19       Page: 28    Filed: 02/23/2024




denial of leave to amend based on futility. See, e.g., Maiden Creek Assocs., L.P. v.

U.S. Dep’t of Transp., 823 F.3d 184, 189 (3d Cir. 2016).

II.   The district court correctly concluded that the Patents-in-Suit do not
      claim patent eligible subject matter.

      Recentive criticizes the district court’s reasoning as having “zoomed out too

much, to the point of missing the trees for the forest.” Recentive Brief, at p. 15. But

a closer look at the “trees” supports, rather than negates, the district court’s

reasoning.3

      A.      The claims seek to patent an abstract idea.
      The central premise of Recentive’s assertions is that it has invented methods

to “iteratively train” a machine learning algorithm to “find useful patterns” in “vast

amounts” of data based on “user selected parameters and real time data,” and to then

apply these patterns to create “optimized” network maps and event schedules in real

time. Recentive Brief, at pp. 5-6. Recentive claims that “[u]sing the prior

conventional approach, humans (even assisted by powerful computers) lacked the

technical ability to identify these useful patterns and use them to generate optimal

maps and schedules.” Id. at 5.


3
  The focus of this brief is, as it should be, on the disclosure and claims of the Patents-
in-Suit, and not on Recentive’s many references to its commercial “software
platform.” See, e.g., Recentive Brief, at pp. 1, 2, 3, 4, 5, 6, 11, 12, 26. Whether or
not Recentive has a commercially successful product, “is insufficient to transform
the claims into a patent-eligible application.” In re Greenstein, 782 F. App'x 1035,
1038 (Fed. Cir. 2019).

                                            16
           Case: 23-2437     Document: 19      Page: 29   Filed: 02/23/2024




      The claims of the Patents-in-Suit, described in Recentive’s own words, fail

Alice step one. The purported invention reflects merely the selection and analysis of

routine and conventional information, using routine and conventional computer

technology, to produce more “optimal” versions of routine and conventional maps

and schedules. This is, simply, an unpatentable abstract idea.

             1.     The claims are directed to the selection and analysis of
                    routine and conventional information.
      Recentive’s claimed machine learning models select and analyze routine and

conventional types of information. As a preliminary matter, the specification of the

Network Map Patents makes it clear that the claimed machine learning technique

uses “any suitable training data,” including “weather data, news data, and/or

gambling data[.]” Appx117 at 3:26-30. Similarly, the Machine Learning Training

Patents describe training the claimed machine learning models using “a set of

training data,” such as “dates, venue locations, ticket prices, social media data [and]

attendance, revenue, expenses, etc.” Appx146 at 6:5-11. These types of data were

well-known and routinely analyzed, including for the generation of the prior art

network maps and event schedules. See, e.g., Appx274 (“An event planner or agent

could reasonable [sic] compile a list of performers and venues to develop a tour

schedule and update a proposed schedule as changes occur.”).

      Nevertheless, Recentive argues, the claims also cover the collection and

analysis of real-time data, which the prior art processes purportedly did not (and


                                          17
           Case: 23-2437     Document: 19     Page: 30   Filed: 02/23/2024




could not) address. See, e.g., Recentive Brief at p. 44 (“Recentive improved upon

the historic approaches by using machine learning to dynamically generate

optimized maps and schedules based on real-time data and update them based on

changing conditions.”) (emphasis added) (internal quotation marks and citations

omitted). Recentive argues that this takes its claims out of the abstract because, “it

would be impossible for a human to produce near-simultaneous updates to network

maps or event schedules based on real-time data[.]” Id. at 39-40 (internal quotation

marks and citations omitted).

      This Court has already considered, and rejected, this argument on multiple

previous occasions. For example, in Electric Power Group, this Court confirmed

that claims directed to “detecting events on an interconnected electric power grid in

real time over a wide area and automatically analyzing the events on the

interconnected electric power grid” were directed to an abstract idea, even though a

human could not detect or analyze such events. Elec. Power Grp., LLC v. Alstom

S.A., 830 F.3d 1350, 1353-54 (Fed. Cir. 2016) (emphasis added). In so doing, this

Court noted particularly that “collecting information, including when limited to

particular content (which does not change its character as information),” and that

“analyzing information . . . by mathematical algorithms, without more, as

essentially mental processes within the abstract-idea category.” Id. at 1354

(emphasis added). Recentive attempts to distinguish Electric Power Group on the


                                         18
           Case: 23-2437      Document: 19      Page: 31   Filed: 02/23/2024




basis that its patents are directed to “a unique and specific process of dynamically

generating maps and schedules—not merely to running data through an algorithm

that mimics mental processes.” Recentive Brief, at pp. 37-38. But that is a distinction

without a difference. Recentive’s claims simply reflect the collection and analysis

of information—and, under this Court’s reasoning in Electric Power Group, even

doing so in “real-time’ to “dynamically generate” the claimed maps and schedules

does not confer patent eligibility.

      Similarly, in Trinity, this Court considered—and again rejected—a similar

argument that claims directed to a poll-based networking and e-commerce system

that involved real-time data analysis were eligible for patent protection, because

humans cannot “perform nanosecond comparisons and aggregate result values with

huge numbers of polls and members.” Trinity Info Media, LLC v. Covalent, Inc., 72

F.4th 1355, 1363 (Fed. Cir. 2023). Instead, this Court confirmed that “claims can be

directed to an abstract idea even if the claims . . . require operations that a human

could not perform as quickly as a computer.” Id. at 1364. The district court squarely

addressed Trinity in its order, and found its reasoning “highly persuasive”. Appx19-

21. Recentive casts this decision as “even further afield” from its claims. Recentive

Brief, at p. 39. But its subsequent argument is telling: Recentive argues that its claims

focus on an improvement to software technology because “it would be impossible

for a human to produce near-simultaneous updates to network maps or event


                                           19
           Case: 23-2437      Document: 19      Page: 32   Filed: 02/23/2024




schedules based on real-time data.” Id. at 39-40 (internal quotation marks and

citations omitted). This is no different from the argument that this Court already

considered and rejected in Trinity, when it held that claims can be directed to an

abstract idea even if the claims require operations that a human cannot perform as

quickly as a computer, and it is certainly not sufficient to add an inventive gloss to

Recentive’s claims. See also Appx20 (“[T]he fact that a human cannot literally do

the claimed process is not a barrier when the process itself is abstract. Just as a human

cannot literally communicate over a computer network, humans cannot literally run

a machine learning algorithm. However, each process remains abstract, as they are

directed to an abstract idea.”).

      Recentive’s argument that its claimed techniques “do not mimic mental

processes, but are separate structures or architectures that receive, process, and

generate data in a unique manner,” is equally unavailing. Recentive Brief, at p. 40;

id. at p. 37 and p. 40 (same). This Court has already confirmed as much. See Trinity,

72 F.4th at 1362 (“Nor are we persuaded that requiring processors configured to

perform operations with web servers, a database, and a match aggregator changes

the focus of the asserted claims.”) (citing Two-Way Media Ltd. v. Comcast Cable

Commc’ns, LLC, 874 F.3d 1329, 1333, 1337–40 (Fed. Cir. 2017) (finding claims

involving “improved scalable architecture for delivering real-time information”

ineligible for patent protection)).


                                           20
          Case: 23-2437     Document: 19      Page: 33   Filed: 02/23/2024




             2.    The claims simply describe the use of generic computer
                   technologies in purely functional terms.

      Recentive’s claimed machine algorithm models simply recite, in functional

terms, generic computer technologies doing what computers do. This, too, fails to

claim any patentable subject matter.

      As an initial matter the Patents-in-Suit contemplate the claimed methods

being run on generic computer hardware. See, e.g., Appx118 at 5:4-15 (describing a

“generic computing device [] which may be used with the techniques described in

this disclosure,” and then listing various generic components such as a processor,

memory, display, communications interface, transceiver, etc.); Appx149 at 11:11-

19 (noting that the “operations described in the specification can be implemented . .

. by a data processing apparatus . . . including by way of example a programmable

processor, a computer, a system on a chip, or multiple ones, or combinations, of the

foregoing.”); id. at 15-19 (“The term ‘data processing apparatus’ encompasses all

kinds of apparatus, devices, and machines for processing data, including by way of

example a programmable processor, a computer, a system on a chip, or multiple

ones, or combinations, of the foregoing.”). These are precisely the sorts of claims

that Alice definitively prohibits. See Alice Corp. Pty. v. CLS Bank Int’l, 573 U.S.

208, 218 (2014) (“[S]imply implementing a mathematical principle on a physical

machine, namely a computer, is not a patentable application of that principle.”).

These are also the sorts of claims that this Court has previously, repeatedly,


                                         21
           Case: 23-2437     Document: 19      Page: 34   Filed: 02/23/2024




confirmed are directed to unpatentable subject matter. See, e.g., SAP, 898 F.3d at

1167 (affirming that claims directed to resampling statistical techniques were not

patent eligible, the Court noting that “[i]nformation as such is an intangible, hence

abstract, and collecting information, including when limited to particular content

(which does not change its character as information), is within the realm of abstract

ideas. So, too, is analyzing information by mathematical algorithms, without

more.”) (emphasis added) (internal quotation marks and citations omitted).4

      The question therefore is: do the Patents-in-Suit claim “more” than the

analysis of information by mathematical algorithms? The answer is no. Recentive

admittedly did not invent machine learning (see Recentive Brief, at p. 45,

“Obviously, Recentive did not invent machine learning.”). Nor do the Patents-in-

Suit claim a novel machine learning technique. Rather, the Patents-in-Suit make it

clear that the claimed algorithms are the product of “any suitable machine learning

technique,” selected from a list of known and generic machine learning techniques.

See, e.g., Appx117 at 3:21-28 (“In general, any suitable machine learning technique

can be used, for example, a gradient boosted random forest, a regression, a neural


4
  Recentive’s attempt to distinguish SAP in a footnote falls short. Recentive Brief, at
p. 38, n.5. Because the Patents-in-Suit describe the use of machine learning
technologies in purely functional terms, they simply focus on the improved
(“optimal”) network maps and event schedules achieved by using machine learning
on generic computer systems and therefore, as in SAP, “the focus of the claims is not
any improved computer or network, but the improved mathematical analysis.” SAP,
898 F.3d at 1167-68.

                                          22
             Case: 23-2437   Document: 19      Page: 35   Filed: 02/23/2024




network, a decision tree, a support vector machine, a Bayesian network, etc., as just

a few examples.”); Appx146 at 5:65-6:5 (same).5 And Recentive plainly concedes

that computers, software, and software algorithms already existed in the prior art that

could “capture and organize voluminous quantities very quickly.” Recentive Brief,

at p. 4 (“The conventional shortcomings were not for lack of computers, software,

or algorithms that could capture and organize voluminous quantities of data very

quickly”).

      In other words, the sole aspect of Recentive’s claims that it asserts to be

inventive is the application of machine learning to the production of network maps

and event schedules. See, e.g., Recentive Brief, at pp. 26-27 (“[T]he claims involve

specific steps for generating maps and schedules using the identified machine-

learning structures and data sets.”)

      Moreover, the claimed machine learning “techniques” (in the case of the

Network Map Patents) and “models” (in the case of the Machine Learning Training

Patents) are described in purely functional terms. For example, the claims of the

Network Training Patents simply claim, “using a machine learning technique to

optimize an overall television rating across the first plurality of live events and the

second plurality of live events.” Appx132 at 10:25-28. And the Machine Learning


5
  In the case of the Machine Learning Training Patents, the claims further narrow
this list to one of two machine learning techniques: a neural network model and a
support vector model. See, e.g., Appx150 at 14:15-19.

                                          23
           Case: 23-2437     Document: 19      Page: 36    Filed: 02/23/2024




Training Patents similarly claim, “generating, via the trained ML model, a schedule

for the future series of live events that is optimized relative to the one or more

prioritized event target features.” Appx150 at 14:37-39.

      Thus, despite Recentive’s assertion that the claims explain “how to improve

the software’s functionality,” (Recentive Brief, at p. 38) the claimed machine

learning techniques and models are couched in purely results-oriented language,

without any explanation of how the claimed machine learning technique/model

carries out the steps – other than machine learning algorithms doing what machine

learning algorithms do. That is not sufficient to meet Alice step one. See, e.g., Int’l

Bus. Machines Corp. v. Zillow Grp., Inc., No. 2022-1861, 2024 WL 89642, at *5

(Fed. Cir. Jan. 9, 2024) (confirming that claims using “results-oriented language,

such as ‘receiving a resource response set of results,’ ‘receiving a user context

vector,’ ‘mapping the user context vector,’ and ‘controlling the presentation of the

resource response set,’” were directed to an abstract idea because they were “directed

to improving a user’s experience when viewing search results but [did] not contain

any specific mechanism for doing so.”); In re Bd. of Trustees of Leland Stanford

Junior Univ., 991 F.3d 1245, 1250 (Fed. Cir. 2021) (claims “directed to the use of

mathematical calculations and statistical modeling,” that described only the “generic

steps of implementing and processing calculations” without any specific “practical

application,” were not eligible for patent protection); Power Analytics Corp. v.

Operation Tech., Inc., No. SACV1601955JAKFFMX, 2017 WL 5479638 (C.D. Cal.


                                          24
             Case: 23-2437   Document: 19      Page: 37    Filed: 02/23/2024




May 10, 2017) aff’d sub nom, Fed. App’x 334 (Fed. Cir. 2019), cert. denied, 140 S.

Ct. 910 (2020) (reciting a “machine learning engine” in functional terms is not

sufficient to bring the abstract idea into the realm of patentability) (citing In re TLI

Commc’ns LLC Patent Litig., 823 F.3d 607, 613-15 (Fed. Cir. 2016)).

      Further, the concept of “iteratively training” the claimed machine learning

technique or machine learning model does not add “more” —rather, it simply layers

another abstract idea on top of the already unpatentable abstract idea. Health

Discovery Corp. v. Intel Corp., 577 F. Supp. 3d 570 (W.D. Tex. 2021), remanded

on other grounds, Health Discovery Corp. v. Intel Corp., No. 2022-1446, 2022 WL

1681675 (Fed. Cir. May 26, 2022) (“Layering [an iterative training technique]—

itself an abstract concept—onto [a machine learning model]…does not raise either

concept above the level of an abstract idea.”).

      In sum, the Patents-in-Suit do not claim anything “more” than the analysis of

information by mathematical algorithms, and therefore do not recite a patentable

invention.

              3.    The claims simply describe the production of improved data
                    relative to conventional methods.

      Finally, Recentive’s claimed machine algorithm models simply describe an

output—the production of “optimized” data relative to conventional methods by

virtue of the fact that the claimed network maps and event schedules are updated in

“real time” —that also fails Alice step one.



                                          25
           Case: 23-2437     Document: 19      Page: 38    Filed: 02/23/2024




      Throughout its opening brief, Recentive repeatedly asserts that it is the

creation of “dynamic” network maps and schedules that confers eligibility on the

Patents-in-Suit. See, e.g., Recentive Brief, at p. 14 (“the patents-in-suit are directed

to a specific method of dynamically generating network maps and event schedules

using machine learning techniques.”); p. 19 (“the claims are directed…to specific

methods of improving upon an existing technological process by dynamically

generating network maps and event schedules”); p. 27 (discussing “the claims focus

on dynamically generating network maps and event schedules[,]”) (emphasis in

original); p. 28 (describing the Patents-in-Suit as “directed to particular methods for

dynamically generating network maps and schedules in a manner that improves upon

conventional static processes”); p. 37 (“the patents-in-suit are directed to a unique

and specific process of dynamically generating maps and schedules”). But this

simply reflects the use of generic machine learning techniques, described solely in

result-oriented terms, to produce conventional network maps and event schedules

that are updated in real time. Taking known prior art network maps and event

schedules that existed in static form which admittedly could be updated or revised

manually to reflect new data, 6 and simply reorganizing it into a new form (network

maps and event schedules that can be updated in real-time) is an “ineligible abstract


6
  See, e.g., Recentive Brief, at p. 4 (“The conventional shortcomings were not for
lack of computers, software, or algorithms that could capture and organize
voluminous quantities of data very quickly.”).

                                          26
           Case: 23-2437      Document: 19      Page: 39   Filed: 02/23/2024




process of gathering and combining data that does not require input from a physical

device,” and such a process “that employs mathematical algorithms to manipulate

existing information to generate additional information is not patent eligible.”

Digitech Image Techs., LLC v. Elecs. for Imaging, Inc., 758 F.3d 1344, 1351 (Fed.

Cir. 2014).

      Moreover, Recentive argues that the network maps and event schedules

generated by its claimed method are “optimal” over the “crude” versions that existed

in the prior art. See, e.g., Recentive Brief, at p. 14 (“The prior art processes were

static, locked into a single configuration, and relied on crude generalizations.”); p. 36

(describing the prior art as “crude and suboptimal generalizations about viewers’

preferences within a given region.”)). But optimizing existing mathematical

techniques likewise does not impart an inventive concept sufficient to render the

claims patent eligible. See Stanford, 991 F.3d at 1251 (“The different use of a

mathematical calculation, even one that yields different or better results, does not

render patent eligible subject matter.”); SAP, 898 F.3d at 1168 (“Here[,] the focus of

the claims is not a physical-realm improvement but an improvement in wholly

abstract ideas—the selection and mathematical analysis of information, followed by

reporting or display of the results.”); RecogniCorp, LLC v. Nintendo Co., 855 F.3d

1322, 1327 (Fed. Cir. 2017) (“[A] method whereby a user starts with data, codes that




                                           27
           Case: 23-2437     Document: 19      Page: 40   Filed: 02/23/2024




data using ‘at least one multiplication operation,’ and ends with a new form of data”

not patent eligible).

      B.     Recentive’s cited cases are unavailing.
      Recentive relies on several of this Court’s past holdings in an effort to save its

claims. See Recentive Brief, at pp. 32-36. Such reliance is misplaced.

      In Enfish, this Court upheld claims directed to a “self-referential database,”

finding it to be a “a specific type of data structure designed to improve the way a

computer stores and retrieves data in memory.” Enfish, LLC v. Microsoft Corp., 822

F.3d 1327, 1339 (Fed. Cir. 2016). There, the specification explained that the claimed

self-referential table “functions differently than conventional database structures,”

and “that the claimed invention achieves other benefits over conventional databases,

such as increased flexibility, faster search times, and smaller memory requirements.”

Id. at 1337. Not so in the present case. Here we have generic computers using known

machine learning techniques and models to collect and analyze routine and

conventional data. So, although the end result of Recentive’s claimed methods

purport to be an “optimal map” that allows for “real time updates,” the claims simply

reflect machine algorithms doing what machine algorithms do. There is no

improvement to computer technologies akin to Enfish here.

      Similarly, in Finjan, this Court determined that the claimed invention was not

abstract because it claimed the use of a “behavior-based” virus scan that was able to



                                          28
           Case: 23-2437      Document: 19       Page: 41    Filed: 02/23/2024




identify and compile unique information about potentially hostile operations, while

the traditional scan method was limited to recognizing the presence of previously

identified viruses. Finjan, Inc. v. Blue Coat Systems, Inc., 879 F.3d 1299, 1304 (Fed.

Cir. 2018). Here, unlike in Finjan, the claimed machine learning techniques and

models reflect the collection of conventional data and analysis of it in conventional

ways, simply to produce network maps and live event schedules that can be updated

in real-time, “in lieu of the ‘static’ processes of the prior art.” Recentive Brief, at pp.

4-5. That is not an improvement in computer functionality, but rather the use of

computers merely as a tool to purportedly produce different or better results.

      For this reason, Koninklijke, Uniloc, SRI and McRO are likewise inapposite.

The claims in Koninklijke provided a specific, concrete solution for catching

previously undetectable systematic errors in data transmission systems “by varying

the way check data is generated by modifying the permutation applied to different

data blocks.” Koninklijke KPN N.V. v. Gemalto M2M GmbH, 942 F.3d 1143, 1146

(Fed. Cir. 2019). In particular, the claims there specifically recited how to process

data (by reordering information via permutation), and how to use that permutation

(i.e., modifying the permutation applied to different data blocks), which this Court

found to be a “specific implementation [that] is a key insight to enabling prior art

error detection systems to catch previously undetectable systematic errors.” Id. at

1153. Similarly, the claims that were found patent eligible in Uniloc described how


                                            29
           Case: 23-2437     Document: 19     Page: 42   Filed: 02/23/2024




to improve the latency of prior art polling systems by “adding to each inquiry

message prior to transmission an additional data field for polling at least one

secondary station.” Uniloc USA, Inc. v. LG Elecs. USA, Inc., 957 F.3d 1303, 1307-

08 (Fed. Cir. 2020).

      By contrast here, Recentive is simply claiming the use of machine learning

(described in purely functional terms) on generic computer technology functioning

in its usual manner, in order to produce “dynamic” network maps and events

schedules (i.e., maps and schedules that can be updated in real-time). These are not

the kinds of improvements that were found to be patent eligible in Koninklijke and

Uniloc. Rather, Recentive’s claims are more like those in Hawk Tech. Sys., which

were “recited at such a level of result-oriented generality that those claims amount

to a mere implementation of an abstract idea.” Hawk Tech. Sys., LLC v. Castle Retail,

LLC, 60 F.4th 1349, 1357-58 (Fed. Cir. 2023) (distinguishing Koninklijke and noting

that the claims at issue failed to “recite a specific solution to make the alleged

improvement—conserving bandwidth while preserving quality—concrete[.]”)

(internal quotation marks and citations omitted).

      SRI is also distinguishable. SRI Int’l, Inc. v. Cisco Sys., Inc., 930 F.3d 1295

(Fed. Cir. 2019). In SRI, this Court found the challenged claims to be patent eligible

because they were “directed to using a specific technique—using a plurality of

network monitors that each analyze specific types of data on the network and


                                         30
          Case: 23-2437     Document: 19      Page: 43   Filed: 02/23/2024




integrating reports from the monitors—to solve a technological problem arising in

computer networks: identifying hackers or potential intruders into the network.”

SRI, 930 F.3d at 1303. This Court confirmed that the focus of the claims was on the

“‘specific asserted improvement in computer capabilities’—that is, providing a

network defense system that monitors network traffic in real-time to automatically

detect large-scale attacks.” Id. (quoting Enfish, 822 F.3d at 1335-36). By doing so,

this Court noted, the claims were not directed to using a computer as a tool but

“actually prevent[ed] the normal, expected operation of a conventional computer

network.” Id. at 1304. Here, Recentive simply seeks to capture known machine

learning techniques and models, running on generic computer hardware, doing what

all machine learning algorithms do: collecting data, analyzing it, and presenting the

results. This is fundamentally insufficient when compared to the specific

technological improvements that were upheld in SRI.

      And McRO is the least apt of all. McRO, Inc. v. Bandai Namco Games Am.

Inc., 837 F.3d 1299 (Fed. Cir. 2016). The claims in McRO were directed to

automatically animating facial expressions for animated characters, and employed

“unconventional rules” that replaced subjective, artistic actions performed by

humans with specific, objective, and mathematical rules executed by computer.

McRO, 837 F.3d at 1303, 1313–14. By contrast here, Recentive’s claims concern the

optimization of networks and event schedules using machine learning to allow for


                                         31
           Case: 23-2437    Document: 19      Page: 44   Filed: 02/23/2024




real-time updates based on underlying changes to user-specified parameters of

interest. That is, Recentive is simply claiming to have replaced “computers,

software, or algorithms that could capture and organize voluminous quantities of

data very quickly” and “humans (even assisted by powerful computers),” (Recentive

Brief, at pp. 4, 5) with known machine learning techniques, running on general

purpose computers, described in purely functional terms. See pages 21-25, supra. As

the district court pointed out, McRO is distinguishable here. See Appx21-22; see

also, e.g., FairWarning, 839 F.3d at 1094 (distinguishing McRO on the grounds that

there, the traditional process (subjective artistic expression) and newly claimed

method (quantitative rules) stood in contrast, whereas the claims at issue “merely

implement an old practice in a new environment.”); see also Intellectual Ventures I

LLC v. Capital One Bank (USA), 792 F.3d 1363, 1370 (Fed. Cir. 2015) (“[O]ur

precedent is clear that merely adding computer functionality to increase the speed or

efficiency of the process does not confer patent eligibility on an otherwise abstract

idea.”).

      C.     The Patent Office’s guidance is not controlling and is
             distinguishable.

      Recentive suggests that this Court will only decline to follow Patent Office

Guidance “to the extent the Office Guidance contradicts or does not fully accord

with [this Court’s] caselaw.” See Recentive Brief, at p. 41 (citing In re Rudy, 956

F.3d 1379, 1382 (Fed. Cir. 2020)). This is an overly narrow reading of Rudy. This


                                         32
           Case: 23-2437        Document: 19    Page: 45   Filed: 02/23/2024




Court made it clear in that case that the Patent Office’s Guidance “is not, itself, the

law of patent eligibility, does not carry the force of law, and is not binding on our

patent eligibility analysis.” Rudy, 956 F.3d at 1382. “Accordingly, we apply our law

and the relevant Supreme Court precedent, not the Office Guidance, when analyzing

subject matter eligibility.” Id. at 1383. Thus, the district court applied the caselaw of

this Court and the Supreme Court in reaching its conclusion, regardless of whether

or not the Guidance contradicts or is not in accordance with such caselaw. See also,

e.g., In re Abel, 838 F. App'x 558, 561 (Fed. Cir. 2021) (“We need not further address

the Guidance, which does not bind us. We conclude that governing precedent,

directly applied, establishes that the claims at issue are directed to abstract ideas.”)

(internal citations omitted).

      But in any event, the district court did consider the Guidance, and found there

was no conflict between its conclusion and the Guidance. As the district court noted,

Example 39 sets out a series of specific steps that describe how to train a neural

network machine learning method, by expanding the training set using a set of

mathematical transformations and minimizing the incidence of false positives.

Appx12-13. By contrast, the Machine Learning Training Patents simply claim,

“iteratively training the [machine learning model] to identify relationships…wherein

such iterative training improves the accuracy of the machine learning model,”—i.e.,

the claim language is couched in terms of the result, and is entirely silent as to how


                                           33
           Case: 23-2437      Document: 19     Page: 46     Filed: 02/23/2024




the training takes place. The Network Map Patents are even less forthcoming, simply

claiming the use of a “machine learning technique.” 7 The claims of the Patents-in-

Suit have none of the requisite specificity that is evident in the Patent Office’s

Guidance. Therefore, the district court correctly concluded that “the patents-in-suit

are not directly analogous to Example 39,” and that therefore the Guidance was

irrelevant to the question of patent eligibility. Appx13.

III.   The claims fail to disclose an inventive concept.
       Where, as here, the claims are directed to an abstract idea under step one, the

inquiry moves on to whether the elements of the claims recite an “inventive concept”

that is “sufficient to ensure that the patent in practice amounts to significantly more

than a patent upon the [abstract idea] itself.” Alice, 573 U.S. at 218. The claims of

the Patents-in-Suit fail this step two.

       Recentive here characterizes the alleged inventive concept as the use of

“machine learning to dynamically generate optimized maps and schedules based on

real-time data and update them based on changing conditions.” Recentive Brief, at

p. 44. See also id. at p. 45 (“The inventive concept in the patents-in-suit is the

specific method of applying machine learning, as described in the patents, to



7
  Recentive asserted that the claimed “machine learning techniques” of the Network
Map Patents, “necessarily includes the ‘iterative training’ step expressly recited in
the Machine Learning Training Patents”; an assertion that Fox accepted as true. See
Appx560, n.1.

                                          34
           Case: 23-2437      Document: 19      Page: 47    Filed: 02/23/2024




generate optimal network maps and event schedules dynamically, departing from

the existing static processes.”). Tellingly, Recentive again fails to point to anything

beyond the application of known machine learning algorithms, running on generic

computers, to generate “dynamic” versions of previously static network maps and

event schedules that reflect real-time updates in the underlying data.

      Recentive raised this argument at the district court, and it was found wanting.

See, e.g., Appx24 (“The inventive concept that Recentive identifies is merely the

abstract idea – applying machine learning to optimization of network maps and event

schedules.”); Appx25 (“The machine learning limitations are described only in

broad functional terms and provide little guidance on model parameters or training

technique[s] … The patents also claim only generic and conventional computing

devices, which are insufficient to transform the abstract idea into patent-eligible

subject matter. As such, the court is unable to identify any transformative inventive

concept present in the patents-in- suit at Alice step two.”) (internal citations omitted).

As the district court noted, that is nothing more than the (unpatentable) abstract idea.

Id. See also, RecogniCorp, 855 F.3d at 1328 (“A claim directed to an abstract idea

does not automatically become eligible merely by adding a mathematical formula…

The addition of a mathematical equation that simply changes the data into other

forms of data cannot save it.”); PersonalWeb Techs. LLC v. Google LLC, 8 F.4th

1310, 1319 (Fed. Cir. 2021) (“PersonalWeb’s claims merely automate or otherwise


                                           35
           Case: 23-2437     Document: 19       Page: 48   Filed: 02/23/2024




make more efficient traditional methods. Their innovation is an innovation in

ineligible subject matter[, which] fails step two.”) (internal quotation marks and

citations omitted).

      Tellingly, Recentive falls back on an argument that “there is at least a factual

dispute as to whether the asserted claims contain an inventive concept.” Recentive

Brief, at p. 43. As discussed below, no such factual disputes are evident in the record,

and therefore the district court properly found no “inventive concept” that would

confer patent eligibility on the claims.

IV.   No factual disputes or issues of claim construction precluded the district
      court’s ruling.
      A.     There are no claim construction issues.

      Recentive asserts that the district court adopted a claim construction opposite

to the one that Recentive purportedly urged. See Recentive Brief, at p. 31 (“In effect,

the district court decided that the claim language relating to machine learning should

be construed as referring to generic techniques, not specialized ones as Recentive

had urged.”). Not true. As the district court correctly noted, Recentive did not in fact

provide any proposed claim construction or an explanation of why any proposed

claim construction would alter the Section 101 analysis. Appx10. Instead, Recentive

vaguely suggested that the claimed “machine learning technique” or “trained

[machine learning] model” of the Patents-in-Suit either implicitly or explicitly

involved an “iteratively training” step. Appx392. Further, Recentive now glosses


                                           36
            Case: 23-2437     Document: 19      Page: 49   Filed: 02/23/2024




over the fact that Fox specifically accepted Recentive’s characterization of the scope

of these claims as true (see Appx560, n. 1) and that its counsel did not address the

issue further at the hearing.8 Nor did Recentive ever seek to introduce any factual or

expert testimony on this issue.

       In these circumstances, it was proper for the district court to conclude that

there were no claim construction disputes that would preclude dismissal at the

pleadings stage. See, e.g., Cleveland Clinic Found. v. True Health Diagnostics LLC,

859 F.3d 1352, 360 (Fed. Cir. 2017) (“[I]t was appropriate for the district court to

determine that the [asserted] patents were ineligible under § 101 at the motion to

dismiss stage,” when the patentee “provided no proposed construction of any terms

or proposed expert testimony that would change the § 101 analysis.”); WhitServe

LLC v. Dropbox, Inc., 854 F. App'x 367, 373 (Fed. Cir. 2021) (“WhitServe waived

any such argument by failing to request claim construction below, and by failing to

explain how a different construction of any claim term would lead to a different

result.”)

       Trinity is instructive. In Trinity, this Court noted that a patentee “must do more

than invoke a generic need for claim construction or discovery to avoid grant of a



8
 Instead, Recentive’s counsel raised a new claim construction argument during the
hearing. See Appx612-613. The district court noted that Recentive had not
previously raised this argument, and that Recentive had once more provided no
explanation for how it would change the Section 101 analysis. See Appx10, n.2.

                                           37
              Case: 23-2437    Document: 19      Page: 50   Filed: 02/23/2024




motion to dismiss under Section 101. Instead, the patentee must propose a specific

claim construction or identify specific facts that need development and explain why

those circumstances must be resolved before the scope of the claims can be

understood for § 101 purposes.” Trinity, 72 F.4th at 1360-61. This Court found that

“[b]ecause Trinity did not identify a proposed claim construction or specific facts to

be discovered that would change our analysis,” including at oral argument on appeal,

it was entirely appropriate to proceed with the subject matter eligibility analysis

under Section 101. Id. at 1361, n. 4. The same is true here: Recentive has been given

multiple opportunities to specifically identify the claim terms and proposed

constructions that it believes would change the Section 101 analysis but it has not

done so. The district court was correct to proceed with dismissal at the pleadings

stage.

         B.    There are no factual disputes.
         Recentive’s appeals to so-called “factual disputes” are similarly unavailing.

See Recentive Brief, at p. 31.In fact, the district court addressed four separate

arguments that Recentive raised on this point, and fully dealt with each of them in

turn. See Appx10-11.

         First, the district court specifically addressed Recentive’s allegation that its

claimed machine learning techniques “do not mimic mental processes, but are

separate structures or architectures that receive, process, and generate data in a



                                            38
           Case: 23-2437      Document: 19      Page: 51   Filed: 02/23/2024




unique manner.” Appx10. The district court initially noted that Recentive’s

assertions here “are the sorts of ‘mere conclusory statements’ that a Court may

disregard at the 12(b)(6) stage.” Appx10, citing Doe v. Princeton Univ., 30 F.4th

335, 342 (3d Cir. 2022). But the district court did not stop there. Instead, the district

court also noted that even accepting that “machine learning techniques generate data

in a manner distinct from the human mind,” it is nevertheless true “that machine

learning algorithms use known mathematical techniques to do so” – such that the

claims of the Patents-in-Suit are nevertheless patent ineligible. Appx10-11.

Moreover, the district court “dr[ew] all assumptions in favor of Recentive at this

stage”, including those related to machine learning having separate structures that

process data in a manner different from the human mind, in correctly concluding

that the claims were not eligible for patent protection. Appx11. Thus, there were no

factual disputes that precluded resolving the Section 101 issue at the pleading stage.

      Second, the district court specifically examined Recentive’s claim that the

“iteratively training” step of the Patents-in-Suit reflects a specialized, and not

generic, technique. The district court rightly found that there was no dispute on this

point that would preclude a subject matter eligibility analysis, because iterative

training can itself be a generic part of the generic technique of machine learning. See

Appx11. In other words, “repeating some steps” is not inventive. Content Extraction

& Transmission LLC v. Wells Fargo Bank, Nat. Ass’n, 776 F.3d 1343, 1348-49 (Fed.


                                           39
           Case: 23-2437        Document: 19    Page: 52    Filed: 02/23/2024




Cir. 2014). Moreover, to the extent that Recentive believed that claim construction

on this limitation was required, it was incumbent upon Recentive to specifically

identify the proposed construction and explain how that would alter the Section 101

analysis. It failed to do so.

       Third, the district court accepted Recentive’s factual allegations that its

claimed machine learning techniques produce “a better result than what a human

could perform alone,” and a “better and more optimized event schedule than what a

human could achieve without the claimed techniques.” Appx11. The district court

found that, even accepting these allegations as true, they did not change the court’s

analysis. Id. Recentive does not appear to take issue with this conclusion.

       Fourth, the district court specifically addressed Recentive’s suggestion that

humans process data qualitatively rather than quantitatively and thereby its claimed

machine learning techniques optimize maps and schedules in a way that human

brains could not. See Appx18. Recentive complains that the district court “waved

away” this proposition and “incorrectly dismissed this as ad hoc attorney argument.”

See Recentive Brief, at p. 31 (citations omitted). But the record demonstrates that

Fox repeatedly accepted this characterization, and thus there was actually no dispute

on this point. See, e.g., Appx564 (noting that although there was no allegation in the

first amended complaint that humans process data qualitatively rather than

quantitatively, “even accepting all of [this] as true, it still does not make the Patents-


                                           40
           Case: 23-2437     Document: 19      Page: 53    Filed: 02/23/2024




in-Suit patent eligible.”) (emphasis added); Appx566 (“[I]f Recentive’s other

assertions are accepted as true—i.e. the claimed steps of the Patents-in-Suit could

not in fact be performed in the human mind—then that would actually underscore

the risk of preemption evident in this case.”); Appx620-621 (discussing the absence

of factual disputes). Moreover, the district court noted that whether or not a machine

learning algorithm processes information differently from a human is “irrelevant.”

Appx18. As the court recognized, the correct question is whether the machine

learning processes are algorithmic in nature – and they undisputedly are. See id.

(quoting Elec Power Grp., 830 F.3d at 1354 (“[Courts] have treated analyzing

information by steps people go through in their minds, or by mathematical

algorithms, without more, as essentially mental processes within the abstract-idea

category.”) (emphasis added by district court).

      Having thus fully dealt with each of Recentive’s attorney arguments, the

district court concluded that there were no factual disputes that needed to be resolved

prior to undertaking the patent eligibility analysis. As this Court has previously held,

“the district court need not accept a patent owner’s conclusory allegations of

inventiveness,” and only “plausible and specific factual allegations that aspects of

the claims are inventive are sufficient.” Int’l Bus. Machines Corp. v. Zillow Grp.,

Inc., 50 F.4th 1371, 1379 (Fed. Cir. 2022) (“IBM I”). In IBM I, this Court confirmed

that the patent owner had failed to make plausible and specific factual allegations


                                          41
           Case: 23-2437     Document: 19      Page: 54   Filed: 02/23/2024




where the cited limitations simply used “functional language, at a high level of

generality and divorced from any computer technology, to recite the claimed

functions,” and “simply describe[d] the abstract method without providing more.”

Id. This Court noted that even if the claims did require the use of a computer, “claims

to an abstract idea implemented on generic computer components, without providing

a specific technical solution beyond simply using generic computer concepts in a

conventional way do not suffice at step two.” Id. (internal quotation marks and

citations omitted). The same is true here. Recentive unequivocally asserts that the

“[t]he inventive concept in the patents-in-suit is the specific method of applying

machine learning, as described in the patents, to generate optimal network maps and

event schedules dynamically, departing from the existing static processes.”

Recentive Brief, at p. 45. But accepting that as true, this is nothing more than the

simply the abstract idea of generating network maps and event schedules, and

automatically updating them, using real-time data—and the fact that this is done

using claimed machine learning techniques and models (described only in purely

functional terms) running on generic computer technologies does nothing to add any

inventive concept. The district court properly dismissed Recentive’s complaint.

V.    The district court correctly denied leave to amend on the ground that any
      further amendments would be futile.

      Recentive’s plea for leave to amend was properly rejected. At the district court

level, Recentive simply argued that, “[t]o the extent the Court grants Fox’s Motion,


                                          42
           Case: 23-2437      Document: 19      Page: 55    Filed: 02/23/2024




Recentive requests leave to plead additional facts to address any shortcomings

identified by the Court.” Appx403. That was accompanied by a footnote that

observed that “some patent holders attach expert declarations…to patent

infringement complaints.” Id. at n.10. Tellingly, Recentive did not actually offer to

attach an expert declaration to a second amended complaint, nor did it tell the court

what the declaration would address. Moreover, when Recentive previously availed

itself of the opportunity to file its first amended complaint, it elected not to file an

expert declaration. Instead, it simply added a host of factual allegations and attached

the Patents-in-Suit. The district court accepted all of those factual allegations as true.

Appx11 (“The court accepts Recentive’s factual allegations as true at this stage but

ultimately finds they do not change the analysis.”) And the district court reviewed

the Patents-in-Suit when deciding the motion. Appx26 (“[T]he court reviewed the

patents-in-suit when deciding Fox’s Motion. The claims of the patents say what they

say.”). Having done so, the court appropriately determined that any further

amendments would be futile and accordingly denied Recentive’s request for leave

to amend. This Court has previously confirmed the correctness of the district court’s

approach, and should do so again here. See, e.g., Fast 101, 834 F. App’x at 594

(affirming district court’s denial of leave to amend where the patent owner had “not

identified with specificity any additional factual allegations or claim constructions

that would render amendment and discovery not futile.”) (emphasis added).


                                           43
           Case: 23-2437     Document: 19      Page: 56   Filed: 02/23/2024




      Fox notes that, in affirming a district court denial of leave to amend based on

futility, this Court has previously applied an abuse of discretion standard of review

under Third Circuit law. Fast 101, 834 F. App’x at 593. Recentive correctly notes

that the Third Circuit has, on other occasions, applied a de novo standard in

reviewing denial of leave to amend based on futility. Recentive Brief, at p. 20 (citing

Maiden Creek Assocs., L.P. v. U.S. Dep’t of Transp., 823 F.3d 184, 189 (3d Cir.

2016)). However, a review of the district court’s decision even under the de novo

standard nevertheless confirms the correctness of the approach that the court

adopted. Recentive amended its complaint once, and it did so knowing that Fox had

already once challenged the subject matter eligibility of at least its Network Map

Patents. See Appx181. Recentive could have used that opportunity to attach an

expert declaration or other additional material in support of the eligibility of its

claims. It chose not to do so: instead, Recentive added a host of factual allegations

and simply attached the Patents-in-Suit. The district court specifically considered

and adopted those factual assertions as true (see Appx10-11 (“[T]he court draws all

assumptions in favor of Recentive at this stage…The court accepts Recentive’s

factual allegations as true at this stage but ultimately finds they do not change the

analysis,”) and considered the Patents-in-Suit. See, e.g., Appx25 (“Here, Recentive

attached to its FAC the patents-in-suit…The claims of the patents say what they




                                          44
           Case: 23-2437     Document: 19      Page: 57   Filed: 02/23/2024




say.”). Thus, even on a de novo review, it is clear that the district court reached the

correct conclusion in determining that any further amendments would be futile.

                                  CONCLUSION

      In light of the foregoing, this Court should affirm the district court’s dismissal

under Fed. R. Civ. P. 12(b)(6) with prejudice.

Dated: February 23, 2024            Respectfully submitted,

                                    /s/ Ranjini Acharya
                                    Ranjini Acharya
                                    Michael Zeliger
                                    PILLSBURY WINTHROP SHAW
                                    PITTMAN LLP
                                    2550 Hanover Street
                                    Palo Alto, CA 94304-1115
                                    Tel: 650.233.4500

                                    Evan Finkel
                                    Michael Horikawa
                                    PILLSBURY WINTHROP SHAW
                                    PITTMAN LLP
                                    725 South Figueroa Street, 36th Floor
                                    Los Angeles, CA 90017-5524
                                    Tel: 213.488.7100

                                    Counsel for Fox Corporation, Fox
                                    Broadcasting Company, LLC, and Fox Sports
                                    Productions, LLC




                                          45
          Case: 23-2437     Document: 19    Page: 58   Filed: 02/23/2024




                          CERTIFICATE OF SERVICE

      I hereby certify that, on this February 23, 2024, I caused the foregoing

APPELLEES’ PRINCIPAL BRIEF to be filed with the Clerk of the Court using

the CM/ECF system. Counsel for appellant was electronically served by and through

the Court’s CM/ECF filing system.

Dated: February 23, 2024             By: /s/ Ranjini Acharya
                                            Ranjini Acharya




                                       46
          Case: 23-2437     Document: 19      Page: 59   Filed: 02/23/2024




                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing brief uses a proportionately spaced 14

point typeface, and, based on the word count function of Microsoft Word, contains

10,435 words, excluding the items listed in Fed. R. Appellate P. 32(f) and Federal

Circuit Rule 32(b)(2), and therefore complies with the length restrictions of

Federal Circuit Rule 32(b)(1).

Dated: February 23, 2024               By: /s/ Ranjini Acharya
                                              Ranjini Acharya




                                         47
